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1                                UNITED STATES DISTRICT COURT

2                                       DISTRICT OF NEVADA

3      DANIEL H. WRIGHT,
4                                                         Case No. 3:20-cv-00558-MMD-CLB
                                      Plaintiff,
5         v.
                                                                        ORDER
6      LAS VEGAS METRO POLICE, et al.,
7
                                 Defendants.
8

9           On September 28, 2020, Plaintiff filed an application to proceed in forma pauperis

10   (ECF No. 1). However, Plaintiff has not filed a complaint in this matter. Pursuant to Federal

11   Rule of Civil Procedure 3, “[a] civil action is commenced by filing a complaint with the court.”

12   Fed.R.Civ.P. 3.

13          Accordingly, IT IS ORDERED that the Clerk of the Court will SEND to Plaintiff the

14   approved form for filing a 42 U.S.C. § 1983 complaint and instructions for the same.

15          IT IS FURTHER ORDERED that Plaintiff will have thirty (30) days from the date of

16   this order to submit a complaint to this court. If Plaintiff does not timely comply with this

17   order, dismissal of this action may result.

18                  October 20, 2020
            DATED: _____________________

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                                                   UNITED STATES MAGISTRATE JUDGE
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